Case: 6:13-cr-00030-DCR-JGW              Doc #: 209 Filed: 08/10/16          Page: 1 of 11 - Page
                                            ID#: 1127



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                       AT LONDON
                             CRIMINAL ACTION NO. 13-30-DCR-1
                             CIVIL ACTION NO. 16-83-DCR-JGW

UNITED STATES OF AMERICA                                                             PLAINTIFF

V.

STANLEY ANDERSON, JR.                                                               DEFENDANT

                             REPORT AND RECOMMENDATION

          Pending is defendant’s motion for postconviction relief under 28 U.S.C. §2255. Doc.

196. After considering the record and applicable law, the Court recommends that the motion be

denied.

          I. Relevant Factual and Procedural History

          In October 2013 defendant pleaded guilty to one count of conspiring to distribute

oxycodone. The presiding district judge held an evidentiary hearing in January 2014 to resolve a

factual dispute regarding the drug quantity attributable to defendant and his co-defendants.

Ultimately the Court issued an order finding defendant to have been responsible for at least four

deliveries totaling 5,195 oxycodone pills and 400 Xanax tablets. Doc. 104. Nonetheless,

defendant persisted in insisting to the probation officer who prepared the presentence

investigation report (PSR) that he was responsible for only one trip involving markedly fewer

pills. The PSR therefore stated that “the Probation Office believes the defendant provided

materially false information to a probation officer in respect to a presentence investigation for the

Court.” Doc. 131 (sealed PSR), p. 5. Over defendant’s objection, at the February 2014

sentencing the presiding district judge agreed with the probation officer’s recommendation and


                                                  1
Case: 6:13-cr-00030-DCR-JGW              Doc #: 209 Filed: 08/10/16           Page: 2 of 11 - Page
                                            ID#: 1128



found that defendant obstructed justice,1 after which defendant was sentenced to 121 months’

imprisonment. Doc. 128.

        Defendant appealed. As framed by the Sixth Circuit, the issues on appeal were “the

district court’s decision to assess a two-level enhancement for obstruction of justice, and . . . that

the court was not constitutionally allowed to judicially find the fact that he had made at least four

trips to transport drugs.” Doc. 171, p. 3. In February 2015 the Sixth Circuit affirmed. Doc. 171.

Specifically, the Sixth Circuit held that “[t]he district court credited [cooperating co-defendant]

Scalf’s testimony that Anderson had made at least four trips from Detroit—a finding that

Anderson does not contest on appeal—and found that Anderson lied when he told the probation

officer that he had made only one trip. This was materially false information and the district

court did not err in imposing the § 3C1.1 obstruction-of-justice enhancement on Anderson.” Id.

at p. 11. The court also rejected defendant’s constitutional argument, holding that “the district

court’s judicial factfinding of the quantity of oxycodone attributable to Anderson did affect his

sentencing guideline range, but it did not affect the statutory mandatory minimum penalty (none)

or the statutory maximum penalty (twenty years). Thus Apprendi and Alleyne were not violated.”

Id. at p. 12 (citations omitted).

        In March 2015 defendant filed a motion for reduction in sentence due to changes in the


1 At sentencing, the Court stated as follows:
            And in this case the Court finds that it was false and
      misleading information that was given.
            And, therefore, the objection to the two-point enhancement
      for obstruction of justice is properly applied, and again the
      objection will be overruled, and the enhancement is applied in
      the case.
Doc. 150, p. 7. In essence, therefore, two of the three total points
deducted from defendant’s Guidelines score due to his acceptance of
responsibility were offset by the enhancement for obstructing justice.
Defendant’s seeming insinuation that his guilty plea did not result in any
tangible reduction in his sentence is thus patently incorrect.
                                                  2
Case: 6:13-cr-00030-DCR-JGW             Doc #: 209 Filed: 08/10/16           Page: 3 of 11 - Page
                                           ID#: 1129



Sentencing Guidelines. Doc. 177. The presiding district judge denied the motion shortly

thereafter (doc. 178) and defendant again appealed. In October 2015 the Sixth Circuit again

affirmed. Doc. 193. Defendant then filed the pending §2255 motion in May 2016. Doc. 196.2

       Defendant raises three allegations of ineffective assistance of counsel. First, he contends

counsel was ineffective for failing to conduct an adequate investigation. Doc. 196-1, p. 3-6.

Second, he contends counsel was ineffective for failing “to at least try to precure [sic] a plea

agreement.” Id. at p. 6-7. Finally, defendant contends counsel was ineffective for not arguing

that defendant was only a minor participant in the conspiracy. Id. at p. 8-9. The United States

filed its response on July 5, 2016. Doc. 205. Defendant failed to file a reply by the August 5,

2016 deadline.

       II. Analysis

       A. Standards of Review

       “A prisoner seeking relief under § 2255 must allege as a basis for relief: (1) an error of

constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of

fact or law that was so fundamental as to render the entire proceeding invalid.” Pough v. United

States, 442 F.3d 959, 964 (6th Cir. 2006). To be cognizable under §2255, an alleged

constitutional error must be of such magnitude as to have “had a substantial and injurious effect

or influence on the proceedings.” Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999).

“Conclusory statements are insufficient to warrant relief under Section 2255.” Combs v. United

States, 2009 WL 943526, at *3 (M.D. Tenn. April 6, 2009). In addition, “[s]olemn declarations

in open court carry a strong presumption of verity. The subsequent presentation of conclusory



2 The United States concedes that the motion is timely.                   See Doc. 205, p. 4.
                                                 3
Case: 6:13-cr-00030-DCR-JGW             Doc #: 209 Filed: 08/10/16           Page: 4 of 11 - Page
                                           ID#: 1130



allegations unsupported by specifics is subject to summary dismissal, as are contentions that in

the face of the record are wholly incredible.” Blackledge v. Allison, 431 U.S. 63, 74 (1977).

       In order to demonstrate ineffective assistance of counsel, a petitioner must make two

showings. “First, the defendant must show that counsel's performance was deficient. This

requires showing that counsel made errors so serious that counsel was not functioning as the

‘counsel’ guaranteed the defendant by the Sixth Amendment. Second, the defendant must show

that the deficient performance prejudiced the defense.” Strickland v. Washington, 466 U.S.668,

687 (1984). A court need not address both prongs if a petitioner fails to make a sufficient

showing on either prong. See, e.g., United States v. DeGroat, 102 Fed.Appx. 956, 959 (6th Cir.

2004). “The Supreme Court has modified Strickland’s prejudice prong in the context of guilty

pleas, holding that a defendant ‘must show that there is a reasonable probability that, but for

counsel's errors, he would not have pleaded guilty and instead would have insisted on going to

trial.’ Hill v. Lockhart, 474 U.S. 52, 59, 106 S.Ct. 366, 88 L.Ed.2d 203 (1985).” Pough, 442

F.3d at 966. Of course, an attorney cannot be deemed ineffective for failing to raise a meritless

argument. See, e.g., Bailey v. Smith, 492 Fed. Appx. 619, 627 (6th Cir. 2012) (“Strickland does

not require counsel to make meritless requests.”).

       B. Alleged Failure to Investigate Adequately

       Defendant asserts that a proper investigation by counsel “would have produced the

counsel would [sic] the knowledge that Petitioner's statement was as alive as a heart beat . . . .”

Doc. 196-1, p. 3. Defendant later states that “the record is devoid of any evidence that can

actually show that the attorney conducted an investigation of the facts” and “[i]t is not kosher for

an attorney to agree to represent a defendant and then ignore that defendant completely.” Id. at


                                                  4
Case: 6:13-cr-00030-DCR-JGW              Doc #: 209 Filed: 08/10/16           Page: 5 of 11 - Page
                                            ID#: 1131



p. 4. Defendant also asserts that counsel “failed to fight to the misused authority of the court

when the court awarded the Petitioner two reduction points from his offense level for accepting

his responsibility by pleading guilty, but than [sic] came back and added two points for

obstructing justice . . . .” Id. at p. 5. Finally, defendant contends counsel “erred by failing to

discover inconsistencies in the government's witnesses[‘] statements . . . .” Id.

       All facets of defendant’s argument are without merit. First, counsel did object to the two

point enhancement for obstruction of justice. In fact, counsel first filed written objections to the

PSR’s recommendation on that point and then orally argued at sentencing against such an

enhancement. See Docs. 118 (objections to PSR);3 150 (sentencing transcript).4 Defendant is

simply mistaken, therefore, when he contends counsel failed to argue against the enhancement



3 The written objections provide in relevant part:
      Mr. Anderson argues that he never willfully obstructed or impeded
      or attempted to obstruct or impede the administration of justice
      by informing the Probation Officer about Defendant’s involvement
      in the conspiracy. Since Mr. Anderson’s arrest he has maintained
      that he made a single trip from Detroit, Michigan to Covington,
      Kentucky to traffic Oxycodone. He asserts that the testimony of
      the government’s witness was no more credible than the
      information Defendant provided to the Probation Officer and
      should not be utilized to increase the Defendant’s offense level.
      Therefore, the 2 level increase for obstruction provided by
      U.S.S.G. Sec. 3C1.1 should not apply.
Doc. 118, p. 2.
4 At sentencing defendant’s counsel orally argued in relevant part:
      MR. PAYNE: Yes, Your Honor, and I'll be brief. The argument is
      this, is that I realize that the Court relied on Mr. Scalf's
      testimony as to how many trips he made to the state, but we
      cannot discount the fact that my client who has maintained that
      he made one trip from the very first day that I met him, to me,
      that it is --it is possible that Mr. Anderson has been telling
      the truth all along, and Mr. Scalf is just mistaken.
            Now, I would simply argue that he has not, you know,
      intentionally impeded the administration of justice, that he's
      just basically telling us the facts as they related to him. And
      so it's certainly possible that he's not lying to the Court or to
      me, and that he is telling the truth, and maybe Mr. Scalf is just
      -- it's just a case of mistaken identity.
Doc. 150, p. 4.
                                                  5
Case: 6:13-cr-00030-DCR-JGW             Doc #: 209 Filed: 08/10/16         Page: 6 of 11 - Page
                                           ID#: 1132



for obstruction of justice. The record thus also does not support defendant’s generic,

unsupported conclusory contention that counsel ignored defendant’s case. Contrary to

defendant’s seeming argument, the fact that counsel’s arguments proved unavailing does not

mean that counsel was ineffective.

       Moreover, defendant’s argument that additional investigation was necessary is fatally

vague and conclusory. Defendant does not state what additional investigation counsel should

have undertaken, what additional admissible evidence additional investigation would have

uncovered or how that additional evidence derived from additional investigation would have

changed the outcome of defendant’s case (i.e., defendant would have gone to trial and/or would

have received a lesser sentence). Moreover, defendant has not specified the nature of the alleged

inconsistencies in the testimony presented by the United States, nor how additional investigation

would have revealed those inconsistencies in such a manner which would have affected

defendant’s decision to plead guilty and/or sentence. See, e.g., United States v. Mullins, 2012

WL 1931244, at *2 (E.D. Mich. May 29, 2012) (“Defendant fails to identify the defense

witnesses whom counsel failed to investigate and call, nor does defendant specifically identify

what the testimony would have been had they been called to testify at trial. Conclusory

allegations of ineffective assistance of counsel, without any evidentiary support, do not provide a

basis for [§ 2255] relief.”) (quotation marks and citation omitted).

       Finally, defendant’s assertion that the record does not support a showing that counsel

performed adequately is backwards and misguided. Counsel’s performance is strongly presumed

to have been constitutionally adequate. Strickland, 466 U.S. at 689 (“Because of the difficulties

inherent in making the evaluation, a court must indulge a strong presumption that counsel's


                                                 6
Case: 6:13-cr-00030-DCR-JGW             Doc #: 209 Filed: 08/10/16          Page: 7 of 11 - Page
                                           ID#: 1133



conduct falls within the wide range of reasonable professional assistance . . . .”). The burden

thus falls on defendant to show deficient performance by counsel and prejudice stemming

therefrom. Defendant has not met that heavy burden and, consequently, is not entitled to relief.

       C. Alleged Failure to Obtain a Plea Agreement

       Defendant’s second claim for relief is that counsel was ineffective for failing to “at least

try” to obtain a plea agreement. Doc. 196-1, p. 6. Defendant then asserts, somewhat

contradictorily, that the record shows that he did not really want to plead guilty and only did so

because counsel was not prepared for trial.

       The transcript of the rearraignment hearing flatly contradicts defendant’s claims. At

rearraignment, defendant answered, under oath, “[y]es, sir” when asked by the presiding district

judge if he (defendant) was “satisfied with the advice and representation” given by counsel.

Doc. 156, p. 7. Shortly thereafter, the following colloquy occurred:

       THE COURT: All right. Very well.
              Mr. Anderson, let me ask you a couple of questions about that. The parties
       certainly may enter a plea without the benefit of a plea agreement, but on many
       occasions, the parties will enter into a plea agreement which will make
       recommendations to the Court on certain items. Mr. Payne [defendant’s attorney]
       has indicated that you wish to proceed without a written plea agreement; is that
       correct?
       THE DEFENDANT: Yes, sir.
       THE COURT: Have you discussed with your attorney the possible benefits of
       having a written plea agreement?
       THE DEFENDANT: Yes, sir.
       THE COURT: All right. And you've decided that the advantages of not having a
       plea agreement would outweigh the advantages of having one; is that correct?
       THE DEFENDANT: Yes, sir.
       THE COURT: All right. Have any promises been made to you in exchange for
       you agreeing not to proceed with a written plea agreement?
       THE DEFENDANT: No, sir.
       THE COURT: Has anyone made any threats or in any way forced you to do that?
       THE DEFENDANT: No, sir.


                                                 7
Case: 6:13-cr-00030-DCR-JGW              Doc #: 209 Filed: 08/10/16           Page: 8 of 11 - Page
                                            ID#: 1134



Id. at p. 8-9. Moreover, defendant’s attorney similarly states in a declaration attached to the

United States’ response that he engaged in discussions with defendant about whether to seek a

plea agreement, after which defendant elected to plead without such an agreement.5

       In addition, a defendant does not have a constitutional right to a plea bargain and counsel

cannot be deemed ineffective for failing to obtain a plea bargain containing terms of a

defendant’s choosing. See, e.g., Aguirre v. United States, 2012 WL 3191958 (E.D. Tenn. Aug.

2, 2012) (“Petitioner seems to assert some sort of entitlement to a plea agreement on terms

dictated by him and sufficiently favorable to him from his view. He has no such entitlement. The

United States Supreme Court has clearly held that there is no constitutional right to plea bargain

and nothing requires a prosecutor to accept a plea bargain proposal from a defendant which the

prosecutor finds unacceptable. See Weatherford v. Bursey, 429 U.S. 545, 561, 97 S.Ct. 837, 51

L.Ed.2d 30 (1977). Petitioner simply is not entitled to a plea agreement with terms tailored to his

liking and counsel cannot be deficient in failing to obtain the desired result. Since the petitioner

had no constitutional right to plea bargain, it certainly clearly follows that he had no right to a

plea bargain on more favorable terms. This claim by petitioner lacks merit.”) (quotation marks

and citations omitted). Finally, defendant has not shown prejudice in that he has not shown how


5 The declaration provides in relevant part:
      Defendant was indicted on a single count of conspiring to
      distribute a quantity of Oxycodone, a Schedule II controlled
      substance, Because of this lone count no additional charges could
      be dismissed by the United States in return for Mr. Anderson
      entering into a plea agreement. We had a lengthy discussion of
      the pros and cons of pleading with a written plea agreement as
      opposed to doing a simple "open plea" to the indictment, I
      advised Defendant that he gained nothing by entering into a plea
      agreement with the government. He ultimately concluded that,
      because a written plea agreement would require him to waive
      certain rights, including his rights of appeal, he would simply
      plead to the indictment.
Doc. 205-1, p. 2-3.
                                                  8
Case: 6:13-cr-00030-DCR-JGW              Doc #: 209 Filed: 08/10/16           Page: 9 of 11 - Page
                                            ID#: 1135



entering into a plea agreement would have altered materially his sentence. In short, defendant’s

claims of ineffectiveness regarding the lack of a plea agreement are without merit.

       D. Minor Participant

       Finally, defendant contends counsel was ineffective for failing to seek a sentence

reduction due to his (defendant’s) allegedly playing only a minor role in the drug conspiracy.

However, at sentencing, the presiding district judge stated that defendant was not a minor

participant. See Doc. 150, p. 21 (“His involvement in the drug trafficking activity is not a minor

role. It is significant, and the Court believes it's necessary to impose a sentence that will deter not

only his conduct in the future but also others that might be inclined to engage in similar

conduct.”). Any minor participant argument raised by defense counsel, therefore, would have

been futile and counsel cannot be deemed ineffective for failing to raise meritless arguments.

See, e.g., Bailey, 492 Fed. Appx. at 627 (“Strickland does not require counsel to make meritless

requests.”).

       In addition to being futile, defendant’s assertion that he should have been deemed a mere

minor participant is incorrect. Defendant admitted to bringing over 1,500 total pills into

Kentucky in one trip in furtherance of the conspiracy. The presiding district judge, however,

concluded defendant was actually responsible for at least four trips totaling over 5,500 pills—a

conclusion that the Sixth Circuit affirmed on direct appeal. The PSR accordingly did not

recommend that defendant be deemed a minor participant and defendant’s counsel states in his

declaration that he could not in good faith have even presented such an argument. See Doc. 205-

1, p. 3 (“Based on my research, I could not in good conscience argue that Mr. Anderson, as a

courier of hundreds of Oxycodone [pills], was eligible for a downward departure or variance for


                                                  9
Case: 6:13-cr-00030-DCR-JGW            Doc #: 209 Filed: 08/10/16            Page: 10 of 11 - Page
                                           ID#: 1136



[playing] a minor role in the conspiracy. Defendant traveled hundreds of miles from Detroit,

Michigan to Northern Kentucky by way of Greyhound bus and taxi cab. He knew that he was

meeting William Scalf at a particular hotel where the Oxycodone would be sold for cash. Mr.

Scalf informed law enforcement at the time of the arrest that he had dealt with Defendant 4 or 5

times over a 6 month period. Mr. Anderson also admitted to counsel that the Detroit supplier of

the Oxycodone was a close, personal friend. These are not the actions of an individual who has a

minor role in a drug trafficking conspiracy. . . . Since the Court could not grant such an ill-fated

motion, I saw no reason in wasting the court's time with such a filing.”). In short, defendant’s

conduct was not that of a minor participant and his contention that counsel should have raised a

fallacious minor participant argument is without merit.

       III. Conclusion

       For the foregoing reasons, defendant’s 28 U.S.C. §2255 motion (doc. 196) should be

denied.

       Particularized objections to this Report and Recommendation must be filed with the

Clerk of Court within fourteen (14) days of the date of service or further appeal is waived.

United States v. Sullivan, 431 F.3d 976, 984 (6th Cir. 2005); Thomas v. Arn, 728 F.2d 813 (6th

Cir. 1984), aff’d, 474 U.S. 140, 155 (1985). A general objection that does not “specify the issues

of contention” is not sufficient to satisfy the requirement of a written and specific objection.

Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995)(citing Howard v. Secretary of HHS, 932 F.2d

505, 508-09 (6th Cir. 1991)). Poorly drafted objections, general objections, or objections that

require a judge’s interpretation should be afforded no effect and are insufficient to preserve the

right of appeal. Howard, 932 F.2d at 509. A party may respond to another party’s objections


                                                 10
Case: 6:13-cr-00030-DCR-JGW           Doc #: 209 Filed: 08/10/16          Page: 11 of 11 - Page
                                          ID#: 1137



within fourteen days of being served with a copy of those objections. Fed. R. Civ. P. 72(b)(2).

       This the 10th day of August, 2016




                                               11
